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                      Exhibit A
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                             IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF DELAWARE

    NATIONAL STEEL CAR LIMITED,                     )
                                                    )
                Plaintiff,                          )
                                                    )
         v.                                         )     C.A. No. 24-594-JLH-CJB
                                                    )
    FREIGHTCAR AMERICA, INC.,                       )
                                                    )
                Defendant.                          )


                                       SCHEDULING ORDER

        This        day of             , 2024 , the Court having conducted an initial Rule 16

scheduling and planning conference pursuant to Federal Rule of Civil Procedure 16(b) and Local

Rule 16.1 on                   , 2024 , and the parties having determined after discussion that the

matter cannot be resolved at this juncture by settlement, voluntary mediation, or binding

arbitration;

         IT IS ORDERED that:

         1.    Rule 26(a)(1) Initial Disclosures and E-Discovery Default Standard. Unless

otherwise agreed to by the parties, the parties shall make their initial disclosures pursuant to Federal

Rule of Civil Procedure 26(a)(1) within five (5) days of the date of this Order. 1 If they have not

already done so, the parties are to review the Court’s Default Standard for Discovery, Including

Discovery of Electronically Stored Information (“ESI”), which is posted on Magistrate Judge

Burke’s section of the Court’s website (http://www.ded.uscourts.gov) under the “Guidelines” tab,


1
 For clarity, the Parties agree that all dates contained herein supersede those contained in the
Default Standard for Discovery, Including Discovery of Electronically Stored Information (“ESI”),
found on the Court’s website at https://www.ded.uscourts.gov/sites/ded/files/EDiscov.pdf.
                                                    1
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and is incorporated herein by reference.

       2.      Joinder of Other Parties and Amendment of Pleadings. All motions to join other

parties, and to amend or supplement the pleadings shall be filed on or before March 27, 2025.

       3.      Application to Court for Protective Order. Should counsel find it will be

necessary to apply to the Court for a protective order specifying terms and conditions for the

disclosure of confidential information, counsel should confer and attempt to reach an agreement on

a proposed form of order and file it with the Court within ten (10) days from the date of this Order.

Should counsel be unable to reach an agreement on a proposed form of order, counsel must follow

the provisions of Paragraph 7(g) below.

                 Any proposed protective order must include the following paragraph:

                 Other Proceedings. By entering this order and limiting the
                 disclosure of information in this case, the Court does not intend to
                 preclude another court from finding that information may be
                 relevant and subject to disclosure in another case. Any person or
                 party subject to this order who becomes subject to a motion to
                 disclose another party’s information designated “confidential” [the
                 parties should list any other level of designation, such as “highly
                 confidential,” which may be provided for in the protective order]
                 pursuant to this order shall promptly notify that party of the motion
                 so that the party may have an opportunity to appear and be heard
                 on whether that information should be disclosed.

       4.      Papers Filed Under Seal. When filing papers under seal, counsel shall follow the

District Court’s policy on Filing Sealed Civil Documents in CM/ECF and section G of the

Administrative Procedures Governing Filing and Service by Electronic Means. A redacted version

of any sealed document shall be filed electronically within seven (7) days of the filing of the sealed

document.

       Should any party intend to request to seal or redact all or any portion of a transcript of a

court proceeding (including a teleconference), such party should expressly note that intent at the
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start of the court proceeding. Should the party subsequently choose to make a request for sealing or

redaction, it must, promptly after the completion of the transcript, file with the Court a motion for

sealing/redaction, and include as attachments: (1) a copy of the complete transcript highlighted so

the Court can easily identify and read the text proposed to be sealed/redacted; and (2) a copy of the

proposed redacted/sealed transcript. With its request, the party seeking redactions must

demonstrate why there is good cause for the redactions and why disclosure of the redacted material

would present a clearly defined and serious injury to the party seeking redaction.

       5.      Courtesy Copies. The parties shall provide to the Court two (2) courtesy copies of

all briefs and any other documents filed in support of any briefs (i.e., appendices, exhibits,

declarations, affidavits, etc.). This provision also applies to papers filed under seal. Unless ordered

differently by the Court, such copies must be provided to the Court by no later than noon the

business day after the filing is made electronically.

       6.      Disclosures. Absent agreement among the parties, and approval of the Court:

               a.       If one or more of the patents-in-suit have already been licensed or the

subject of a settlement agreement, either: (1) Plaintiff shall provide the licenses and/or settlement

agreements to Defendant no later than January 16, 2025, or (2) if Plaintiff requires a Court Order

to make such disclosures, Plaintiff shall file any necessary proposed orders no later than January

16, 2025. Plaintiff represents that it is complying with this requirement.

               b.       By January 16, 2025, Plaintiff shall identify the accused product(s),

including accused methods and systems, and its damages model, as well as the asserted patent(s)

that the accused product(s) allegedly infringe(s). Plaintiff shall also produce the file history for

each asserted patent.

               c.       By February 17, 2025, Defendant shall produce core technical documents
                                                3
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related to the accused product(s), sufficient to show how the accused product(s) work(s), including

but not limited to non-publicly available operation manuals, product literature, schematics, and

specifications. Defendant shall produce sales figures for the accused product(s).

               d.          By March 6, 2025, Plaintiff shall produce an initial claim chart relating

each known accused product to the asserted claims each such product allegedly infringes.

               e.          By [Plaintiff: April 3, 2025 / Defendant: April 7, 2025], Defendant shall

produce its initial invalidity contentions for each asserted claim, as well as the known related

invalidating references.

               f.          By [Plaintiff: October 16, 2022 / Defendant: December 12, 2025],

Plaintiff shall provide final infringement contentions.

               g.          By [Plaintiff: October 30, 2025 / Defendant: January 9, 2026],

Defendant shall provide final invalidity contentions.

               h.          The parties, if they think it necessary, may request the Court consider

reducing the number of asserted claims and asserted prior art used for anticipation and obviousness

combinations. The usual points where the Court will consider such limits are before claim

construction and after a ruling on claim construction.

       7.      Discovery. Unless otherwise ordered by the Court, the limitations on discovery set

forth in Local Rule 26.1 shall be strictly observed.

               a.      Discovery Cut Off. All discovery in this case shall be initiated so that it will

be completed on or before [Plaintiff: November 13, 2025 / Defendant: January 16, 2026].

               b.      Document Production. Document production shall be substantially complete

by [Plaintiff: September 11, 2025 / Defendant: October 17, 2025].

               c.      Requests for Admission. A maximum of 30 requests for admission are
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permitted for each side, except insofar as to authenticate documents.

               d.      Interrogatories.

                       i.        A maximum of 25 interrogatories, including contention

interrogatories, are permitted for each side.

                       ii.       The Court encourages the parties to serve and respond to

contention interrogatories early in the case. In the absence of agreement among the parties,

contention interrogatories, if served, shall first be addressed by the party with the burden of

proof. The adequacy of all interrogatory answers shall, in part, be judged by the level of detail

each party provides; that is, the more detail a party provides, the more detail a party shall

receive.

               e.      Depositions.

                       i.        Limitation on Hours for Deposition Discovery. Each side is limited

to a total of 70 hours of taking testimony by deposition upon oral examination.

                       ii.       Location of Depositions. Any party or representative (e.g., officer,

director, or managing agent) of a party filing a civil action in this Court must ordinarily be required,

upon request, to submit to a deposition at a place designated within this district. Exceptions to this

general rule may be made by order of the Court. A defendant who becomes a counterclaimant,

cross-claimant, or third-party plaintiff shall be considered as having filed an action in this Court for

the purpose of this provision.

               f.      Disclosure of Expert Testimony.

                       i.        Expert Reports. For the party that has the initial burden of proof on

the subject matter, the initial Federal Rule 26(a)(2) disclosure of expert testimony is due on or

before [Plaintiff: January 15, 2026 / Defendant: February 13, 2026]. The supplemental
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disclosure to contradict or rebut evidence on the same matter identified by another party, or to

otherwise present expert evidence regarding subject matter on which it does not bear the initial

burden of proof, is due on or before [Plaintiff: February 12, 2026 / Defendant: March 13, 2026].

Reply expert reports from the party with the initial burden of proof are due on or before [Plaintiff:

March 5, 2026 / Defendant: April 10, 2026]. 2 No other expert reports will be permitted without

either the consent of all parties or leave of the Court. Along with the submissions of the expert

reports, the parties shall advise of the dates and times of their experts’ availability for deposition.

                       ii.     Expert Report Supplementation. The parties may file expert

declarations in connection with motions briefing (including case-dispositive motions) [Plaintiff: to

the extent that the opinion is consistent with or rebuts previously-filed expert reports or deposition

testimony (e.g., (1) to reply to opinions regarding issues that would be first opined on in

rebuttal/reply reports (such as secondary indicia) or (2) to respond to deposition testimony).

Defendant: to the extent that, if the parties file expert declarations in connection with motion

practice but after the relevant deadline to disclose expert testimony, those declarations do not

contain expert opinions not timely disclosed in the relevant expert report.]

                       iii.    Objections to Expert Testimony. To the extent any objection to expert

testimony is made pursuant to the principles announced in Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it

shall be made by motion no later than the deadline for dispositive motions set forth herein, unless

otherwise ordered by the Court. Briefing on such motions is subject to the page limits set out in



2
 For clarity, the parties agree that Plaintiff may present evidence addressing secondary indicia of
nonobviousness for the first time in a rebuttal report and Defendant may present evidence
addressing secondary indicia of nonobviousness for the first time in its reply report.
                                                    6
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connection with briefing of case dispositive motions.

               g.      Discovery Matters and Disputes Relating to Protective Orders.

                       i.      Any discovery motion filed without first complying with the

following procedures will be denied without prejudice to renew pursuant to these procedures.

                       ii.     Should counsel find, after good faith efforts—including verbal

communication among Delaware and Lead Counsel for all parties to the dispute—that they are

unable to resolve a discovery matter or a dispute regarding a protective order (other than that

involving the initial drafting of a protective order, which is discussed further below), the parties

involved in the discovery matter or protective order dispute shall file a joint letter in substantially

the following form:

                                 Dear Judge Burke:

                                 The parties in the above-referenced matter
                                 write to request the scheduling of a
                                 discovery teleconference.

                                 The following attorneys, including at least
                                 one Delaware Counsel and at least one Lead
                                 Counsel per party, participated in a verbal
                                 meet-and-confer (in person and/or by
                                 telephone) on the following date(s): ______

                                 Delaware Counsel:

                                 Lead Counsel:

                                 The disputes requiring judicial attention are
                                 listed below:

                                 [provide here a non-argumentative list of
                                 disputes requiring judicial attention]

                       iii.    The moving party (i.e., the party seeking relief from the Court)

should also file a “Motion For Teleconference To Resolve Discovery Dispute.” The suggested
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text for this motion can be found in Judge Burke’s section of the Court’s website, in the “Forms”

tab, under the heading “Discovery Matters - Motion to Resolve Discovery Dispute.”

                        iv.     The Court will thereafter set a discovery dispute telephone

conference and a briefing schedule. The movant’s opening letter brief shall include as

attachments: (1) a proposed order, attached as an exhibit, setting out the nature of the relief

requested of the Court; and (2) to the extent that the dispute relates to responses to certain

discovery requests, an attached exhibit (or exhibits) containing the requests and the responses in

dispute. To the extent that factual issues are disputed or are otherwise central to the Court’s

analysis, the parties shall attach as an exhibit (or exhibits) to their letter briefs sworn declarations

or affidavits regarding those issues. The parties should also consult and follow Judge Burke’s

“Guidelines for Discovery Disputes,” which is found in the “Guidelines” tab on Judge Burke’s

section of the District Court’s website. The parties shall also comply with paragraph 5 regarding

the submission of courtesy copies; if they fail to do so, the telephone conference may be

cancelled.

                        v.      Should the Court find further briefing necessary upon the

conclusion of the telephone conference, the Court will order it. Alternatively, the Court may

choose to resolve the dispute prior to the telephone conference and will, in that event, cancel the

conference.

                        vi.     Should counsel find, after good faith efforts—including verbal

communication among Delaware and Lead Counsel for all parties to the dispute—that they are

unable to resolve a dispute regarding the initial drafting of a protective order, the parties involved

in the dispute shall file a joint letter in substantially the following form:

                                 Dear Judge Burke:
                                                 8
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                                The parties in the above-referenced matter
                                write to request the scheduling of a
                                teleconference to resolve a protective order
                                dispute.

                                The following attorneys, including at least
                                one Delaware Counsel and at least one Lead
                                Counsel per party, participated in a verbal
                                meet-and-confer (in person and/or by
                                telephone) on the following date(s): ______

                                Delaware Counsel:

                                Lead Counsel:

                                The disputes requiring judicial attention are
                                listed below:

                                [provide here a non-argumentative list of
                                disputes requiring judicial attention]

                       vii.    The parties shall also file a “Joint Motion For Teleconference To

Resolve Protective Order Dispute.” The suggested text for this motion can be found in Judge

Burke’s section of the Court’s website, in the “Forms” tab, under the heading “Discovery

Matters - Joint Motion to Resolve Protective Order Dispute.”

                       viii.   The Court will thereafter set a protective order dispute

teleconference and a briefing schedule. Along with their respective letter briefs, each side should

include as an attachment that side’s proposal as to how the content of the disputed portion(s) of

the protective order should read. The parties shall also comply with paragraph 5 regarding the

submission of courtesy copies; if they fail to do so, the telephone conference may be cancelled.

                       ix.     Should the Court find further briefing necessary upon the

conclusion of the telephone conference, the Court will order it. Alternatively, the Court may

choose to resolve the dispute prior to the telephone conference and will, in that event, cancel the

                                                  9
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conference.

       8.      Motions to Amend.

               a.      Any motion to amend a pleading shall NOT be accompanied by an opening

brief but shall, instead, be accompanied by a letter, not to exceed three (3) single-spaced pages,

describing the basis for the requested relief, and shall attach the proposed amended pleading as

well as a “blackline” comparison to the prior pleading.

               b.      Within seven (7) days after the filing of a motion in compliance with this

Order, any party opposing such a motion shall file a responsive letter, not to exceed five (5)

single-spaced pages.

               c.      Within three (3) days thereafter, the moving party may file a reply letter,

not to exceed two (2) single-spaced pages, and, by this same date, the parties may file a letter

requesting a teleconference to address the motion to amend.

       9.      Motions to Strike.

               a.      Any motion to strike any pleading or other document or testimony shall

NOT be accompanied by an opening brief but shall, instead, be accompanied by a letter, not to

exceed three (3) single-spaced pages, describing the basis for the requested relief, and shall

attach the document to be stricken.

               b.      Within seven (7) days after the filing of a motion in compliance with this

Order, any party opposing such a motion shall file a responsive letter, not to exceed five (5)

single-spaced pages.

               c.      Within three (3) days thereafter, the moving party may file a reply letter,

not to exceed two (2) single-spaced pages, and, by this same date, the parties may file a letter

requesting a teleconference to address the motion to strike.
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        10.     Motions to Stay.

                a.      Any motion to stay shall NOT be accompanied by an opening brief but

shall, instead, be accompanied by a letter, not to exceed three (3) single-spaced pages, describing

the basis for the requested relief.

                b.      Within seven (7) days after the filing of a motion in compliance with this

Order, any party opposing such a motion shall file a responsive letter, not to exceed five (5)

single-spaced pages.

                c.      Within three (3) days thereafter, the moving party may file a reply letter,

not to exceed two (2) single-spaced pages, and, by this same date, the parties may file a letter

requesting a teleconference to address the motion to stay.

        11.     Tutorial Describing the Technology and Matters in Issue. The parties may

(though they are not required to) provide the Court, no later than the date on which the Joint Claim

Construction Brief is due, with a tutorial on the technology at issue. In this regard, the parties may

separately submit a DVD/flash drive containing a tutorial that is not more than 30 minutes in

length. The tutorial should focus on the technology at issue and should not be used to argue claim

construction contentions. The parties may choose to file their tutorial(s) under seal, subject to any

protective order in effect. Each party may comment, in writing (in no more than 5 pages) on the

opposing party’s tutorial. Any such comment shall be filed no later than seven days after the Joint

Claim Construction Brief is due. As to the format selected, the parties should confirm the Court’s

technical abilities to access the information contained in the tutorial.

        12.     Claim Construction Issue Identification. On [Plaintiff: April 17, 2025 /

Defendant: May 14, 2025], the parties shall exchange a list of those claim term(s)/phrase(s) that

they believe need construction and their proposed claim construction of those term(s)/phrase(s).
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This list will not be filed with the Court. Subsequent to exchanging that list, the parties will meet

and confer to prepare a Joint Claim Construction Chart to be filed with the Court on [Plaintiff:

May 1, 2025 / Defendant: June 4, 2025]. The Joint Claim Construction Chart, in Word format,

shall be e-mailed simultaneously with filing to Samantha_Grimes@ded.uscourts.gov The parties’

Joint Claim Construction Chart should identify for the Court the term(s)/phrase(s) of the claim(s) in

issue, and should include each party’s proposed construction of the disputed claim language with

citation(s) only to the intrinsic evidence in support of their respective proposed constructions. A

copy of the patent(s) at issue as well as those portions of the intrinsic record relied upon shall be

submitted with this Joint Claim Construction Chart. In this joint submission, the parties shall not

provide any arguments.

       13.     Claim Construction Briefing. Plaintiff shall serve, but not file, its opening brief,

not to exceed 20 pages, on claim construction on or before [Plaintiff: May 22, 2025 / Defendant:

June 25, 2025]. Defendant shall serve, but not file, its answering claim construction brief, not to

exceed 30 pages, on or before [Plaintiff: June 12, 2025 / Defendant: July 16, 2025]. Plaintiff

shall serve, but not file, its reply brief, not to exceed 20 pages, on or before [Plaintiff: June 26,

2025 / Defendant: July 30, 2025]. Defendant shall serve, but not file, its sur-reply brief, not to

exceed 10 pages, on or before [Plaintiff: July 10, 2025 / Defendant: August 13, 2025]. No later

than [Plaintiff: July 17, 2025 / Defendant: August 20, 2025], the parties shall file a Joint Claim

Construction Brief. The parties shall copy and paste their unfiled briefs into one brief, with their

positions on each claim term in sequential order, in substantially the form below:

                       I.      Agreed-upon Constructions

                       II.     Disputed Constructions

                       A.      [TERM 1]
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                               1.      Plaintiff’s Opening Position
                               2.      Defendant’s Answering Position
                               3.      Plaintiff’s Reply Position
                               4.      Defendant’s Sur-Reply Position

                       B.      [TERM 2]
                               1.   Plaintiff’s Opening Position
                               2.   Defendant’s Answering Position
                               3.   Plaintiff’s Reply Position
                               4.   Defendant’s Sur-Reply Position

       The parties need not include any general summaries of the law relating to claim

construction. If there are any materials that would be submitted in an appendix, the parties shall file

them in a joint appendix.

       Each party shall file concurrently with the Joint Claim Construction Brief a “Motion for

Claim Construction” that requests the Court to adopt the claim construction position(s) of that party

set forth in the Joint Claim Construction Brief. The motion shall not contain any argument and shall

simply state that the party “requests that the Court adopt the claim construction position[s] of [the

party] set forth in the Joint Claim Construction Brief (D.I. [ ]).”

       14.     Hearing on Claim Construction. Beginning at                .m. on [Plaintiff: August

, 2025 / Defendant: November , 2025], the Court will hear argument on claim construction. The

parties shall notify the Court, by joint letter submission, no later than the date on which the Joint

Claim Construction Brief is due: (i) whether they request leave to present testimony at the hearing;

(ii) the amount of time they are requesting be allocated to them for the hearing; and (iii) the order in

which they intend to present the claim terms at issue, including which side will present first for

each term. Provided that the parties comply with all portions of this Scheduling Order, and any

other orders of the Court, the Court will endeavor to issue its claim construction order within sixty

(60) days of the conclusion of the claim construction hearing.

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       15.     Interim Status Report. On [Plaintiff: December 11, 2025 / Defendant:

November 17, 2025], counsel shall file a joint letter with the Court with an interim report on the

nature of the matters in issue and the progress of discovery to date. Thereafter, if the Court deems it

necessary, it will schedule a status conference.

       16.     Supplementation. Absent agreement among the parties, and approval of the Court,

no later than [NSC’s proposal: July 3, 2025; FCA’s proposal: the date final infringement

contentions and invalidity contentions, respectively, are due], the parties must finally supplement,

inter alia, the identification of all accused products and of all invalidity references.

       17.     Case Dispositive Motions.

               a.      All case dispositive motions, an opening brief, and affidavits, if any,

in support of the motion shall be served and filed on or before [Plaintiff: April 23, 2026 /

Defendant: June 5, 2026]. Briefing will be presented pursuant to the Court’s scheduling order. No

case dispositive motion under Rule 56 may be filed more than ten days before the above date without

leave of the Court.

               b.      Concise Statement of Facts Requirement.                Any motion for summary

judgment shall be accompanied by a separate concise statement, not to exceed six pages, which

details each material fact that the moving party contends is essential for the Court’s resolution of the

summary judgment motion (not the entire case) and as to which the moving party contends there is

no genuine issue to be tried. Each fact shall be set forth in a separate numbered paragraph and shall

be supported by specific citation(s) to the record.

       Any party opposing the motion shall include with its opposing papers a response to the

moving party’s concise statement, not to exceed six (6) pages, which admits or disputes the facts

set forth in the moving party’s concise statement on a paragraph-by-paragraph basis. To the extent
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a fact is disputed, the basis of the dispute shall be supported by specific citation(s) to the record.

Failure to respond to a fact presented in the moving party’s concise statement of facts shall indicate

that fact is not in dispute for purposes of summary judgment. The party opposing the motion may

also include with its opposing papers a separate concise statement, not to exceed four (4) pages,

which sets forth material facts as to which the opposing party contends there is a genuine issue to be

tried. Each fact asserted by the opposing party shall also be set forth in a separate numbered

paragraph and shall be supported by specific citation(s) to the record.

                c.      The moving party shall include with its reply papers a response to the opposing

party’s concise statement of facts, not to exceed four (4) pages, on a paragraph-by-paragraph basis.

                d.      Page limits combined with Daubert motion page limits.              Each party is

permitted to file as many case dispositive motions as desired, provided, however, that each side will

be limited to a combined total of 40 pages for all opening briefs, a combined total of 40 pages for all

answering briefs, and a combined total of 20 pages for all reply briefs. In the event that a party files,

in addition to a case dispositive motion, a Daubert motion to exclude or preclude all or any portion of

an expert’s testimony, the total amount of pages permitted for all case dispositive and Daubert

motions shall be increased to 50 pages for all opening briefs, 50 pages for all answering briefs, and

25 pages for all reply briefs for each side. 3

                e.      Hearing. The Court will hear arguments on all pending case dispositive and

Daubert motions on [ Plaintiff: June/July         , 2026 / Defendant: September , 2026] beginning



3
  The parties must work together to ensure that the Court receives no more than a total of 250 pages
(i.e., 50 + 50 + 25 regarding one side’s motions, and 50 + 50 + 25 regarding the other side’s
motions) of briefing on all case dispositive motions and Daubert motions that are covered by this
scheduling order and any other scheduling order entered in any related case that is proceeding on a
consolidated or coordinated pretrial schedule.
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at _____ _.m. Unless otherwise ordered by the Court, each side will be allocated a total of forty-five

(45) minutes to present its argument on all pending motions.

       18.     Applications by Motion. Except as otherwise specified herein, any application to

the Court shall be by written motion. Any non-dispositive motion should contain the statement

required by Local Rule 7.1.1.

       19.     Amendments to the Scheduling Order. Any stipulation or other request to amend

the scheduling order shall include a chart that lists each court-ordered event with a deadline/date

(even if it is not being changed), the current deadline/date, and the new proposed deadline/date.

       20.     IPRs/PGRs. Any party asserting a patent must file a “Notice of IPR/PGR Event”

within seven days of any of the following actions taken on that patent: petition for inter partes

review/post grant review (regardless of whether a party filed the petition), institution decision, final

written decision, appeal to the Federal Circuit, Federal Circuit decision. The Notice must list the

action taken, the affected claims, the dates of any expected further action by the Patent Trial and

Appeal Board (PTAB), and the status of all other pending IPRs/PGRs.

       21.     Motions in Limine. Motions in limine shall not be separately filed. All in limine

requests and responses thereto shall be set forth in the proposed pretrial order. Each side shall be

limited to three in limine requests, unless otherwise permitted by the Court. The in limine request and

any response shall contain the authorities relied upon. Each in limine request may be supported by a

maximum of three (3) pages of argument, may be opposed by a maximum of three (3) pages of

argument, and the side making the in limine request may add a maximum of one (1) additional page

in reply in support of its request. If more than one party is supporting or opposing an in limine

request, such support or opposition shall be combined in a single three-page submission (and, if the

moving party, a single one-page reply), unless otherwise ordered by the Court. No separate briefing
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shall be submitted on in limine requests, unless otherwise permitted by the Court.

        22.     Pretrial Conference. On [Plaintiff: September 17, 2026 / Defendant: November

13, 2026] the Court will hold a pretrial conference in Court with counsel beginning at ______ .m.

Unless otherwise ordered by the Court, the parties should assume that filing the pretrial order satisfies

the pretrial disclosure requirement of Federal Rule of Civil Procedure 26(a)(3). The parties shall file

with the Court the joint proposed final pretrial order in compliance with Local Rule 16.3(c) not later

than seven (7) days before the pretrial conference. Unless otherwise ordered by the Court, the parties

shall comply with the timeframes set forth in Local Rule 16.3(d)(1)-(3) for the preparation of the joint

proposed final pretrial order.

        The proposed final pretrial order shall contain a table of contents. The parties shall provide the

Court two double-sided courtesy copies of the joint proposed final pretrial order and all attachments.

        23.     Jury Instructions, Voir Dire, and Special Verdict Forms. Where a case is to

be tried to a jury, pursuant to Local Rules 47.1(a)(2) and 51.1, the parties should file (i) proposed

voir dire, (ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict forms

seven ( 7 ) days before the final pretrial conference. This submission shall be accompanied by a

courtesy copy containing electronic files of these documents in Microsoft Word format, which should

be submitted by e-mail to jlh_civil@ded.uscourts.gov.

        24.     Trial. This matter is scheduled for a five day 4 jury trial beginning at 9:30 a.m.

on [ Plaintiff: September/October , 2026 / Defendant: November/December , 2026], with the

subsequent trial days beginning at 9:00 a.m. Until the case is submitted to the jury for deliberations,


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  Five days (i.e., about ten to thirteen hours per side) is the presumptive length of a patent jury trial.
If the parties think it is obvious that this will not be enough, they may put in a different length and
should be prepared to explain why at the Rule 16 conference. A final decision on the precise length
of trial will not be made before the final pretrial conference.
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the jury will be excused each day at 5:00 p.m. The trial will be timed, and counsel will be allocated

a total number of hours in which to present their respective cases.

        25.     Judgment on Verdict and Post-Trial Status Report. Within seven (7) days after

a jury returns a verdict in any portion of a jury trial, the parties shall jointly submit a form of order

to enter judgment on the verdict. At the same time, the parties shall submit a joint status report,

indicating among other things how the case should proceed and listing any post-trial motions each

party intends to file.

        26.     Post-Trial Motions. Unless otherwise ordered by the Court, each side is limited to a

maximum of 20 pages of opening briefs, 20 pages of answering briefs, and 10 pages of reply briefs

relating to any post-trial motions filed by that side, no matter how many such motions are filed.




                                                        The Honorable Christopher J. Burke




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                                              EXHIBIT A

                   Event                          NSC’s Proposal               FCA’s Proposal
  Initial disclosures pursuant to Federal        Within 5 days of this        Within 5 days of this
  Rule of Civil Procedure 26(a)(1) (¶ 1)                Order                        Order

   Motions to Join Other Parties, and to      Thursday, March 27, 2025 Thursday, March 27, 2025
  Amend or Supplement the Pleadings (¶          (this date listed out of (this date listed out of
                    2)                                 sequence)                sequence)

    Application to Court for Protective        Within ten days from the     Within ten days from the
               Order (¶ 3)                     date the Court enters this   date the Court enters this
                                                         Order                        Order
  Disclosures under ESI Order ¶¶ 3(a)-          Thursday, January 16,        Thursday, January 16,
                  3(c)                                   2025                         2025
   Plaintiff shall identify licenses and/or     Thursday, January 16,        Thursday, January 16,
  settlement agreements to Defendant (¶                2025                         2025
                     6(a))
    Plaintiff shall identify the accused        Thursday, January 16,        Thursday, January 16,
  products, damages model, and produce                 2025                         2025
           file histories (¶ 6(b))
 Defendants shall produce core technical        Monday, February 17,         Monday, February 17,
      documents and sales (¶ 6(c))                     2025                         2025

 Initial Infringement Contentions (¶ 6(d))     Thursday, March 6, 2025      Thursday, March 6, 2025

   Initial Invalidity Contentions (¶ 6(e))     Thursday, April 3, 2025       Monday, April 7, 2025
   Claim Terms for Construction (¶ 12)         Thursday, April 17, 2025      Wednesday, May 14,
                                                                                    2025
  Joint Claim Construction Chart (¶ 12)        Thursday, May 1, 2025        Wednesday, June 4, 2025

  Opening Claim Construction Brief (¶          Thursday, May 22, 2025         Wednesday, June 25,
                 13)                                                                2025
 Answering Claim Construction Brief (¶         Thursday, June 12, 2025      Wednesday, July 16, 2025
                 13)
  Reply Claim Construction Brief (¶ 13)        Thursday, June 26, 2025      Wednesday, July 30, 2025

  Sur-Reply Claim Construction Brief (¶        Thursday, July 10, 2025       Wednesday, August 13,
                  13)                                                               2025

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                Event                               NSC’s Proposal             FCA’s Proposal
  Joint Claim Construction Brief (¶ 13)          Thursday, July 17, 2025     Wednesday, August 20,
                                                                                    2025
   Document Production Substantially            Thursday, September 11,     Friday, October 17, 2025
         Complete (¶ 7(b))                               2025
   Amended Joint Claim Construction             Thursday, July 31, 2025     Wednesday, September 3,
                Chart                                                               2025
    Claim Construction Hearing (¶ 14)               August ___, 2025           November __, 2025



  Supplementation of Accused Products            Thursday, October 16,       With final contentions
    and Invalidity References (¶ 16)                    2025


 Final Infringement Contentions (¶ 6(f))         Thursday, October 16,        Friday, December 12,
                                                        2025                          2025
   Final Invalidity Contentions (¶ 6(g))         Thursday, October 30,       Friday, January 9, 2026
                                                         2025
     Fact Discovery Cut Off (¶ 7(a))            Thursday, November 13,      Friday, January 16, 2026
                                                         2025
       Interim Status Report (¶ 15)             Thursday, December 11,       Monday, November 17,
                                                         2025                2025 (this date listed out
                                                                                  of sequence)
    Opening Expert Reports (¶ 7(f)(i))            Thursday, January 15,     Friday, February 13, 2026
                                                          2026
    Rebuttal Expert Reports (¶ 7(f)(i))          Thursday, February 12,      Friday, March 13, 2026
                                                          2026
     Reply Expert Reports (¶ 7(f)(i))           Thursday, March 5, 2026      Friday, April 10, 2026
     Expert Discovery Cutoff (¶ 7.a.)           Thursday, March 26, 2026      Friday, May 8, 2026
  Dispositive Motions Opening Briefs (¶         Thursday, April 23, 2026      Friday, June 5, 2026
                 17(a))
  Dispositive Motions Responsive Briefs         Thursday, May 14, 2026        Friday, June 26, 2026
                (¶ 17(a))
    Dispositive Motions Reply Briefs            Thursday, May 28, 2026        Friday, July 10, 2026
                (¶ 17(a))
   Hearing on Dispositive and Daubert              June/July __, 2026          September __, 2026
           Motions (¶ 17(e))
 Plaintiff serves draft pretrial order (¶ 22)   Thursday, August 6, 2026     Friday, October 2, 2026

  Parties serve motions in limine (¶ 21)                  TBD                         TBD

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                  Event                          NSC’s Proposal              FCA’s Proposal
  Parties serve oppositions to motions in            TBD                         TBD
               limine (¶ 21)
    Parties serve replies to motions in                TBD                        TBD
               limine (¶ 21)
    Defendant serves response to draft         Thursday, August 27,      Friday, October 23, 2026
          pretrial order (¶ 22)                       2026
 Joint proposed final pretrial order (¶ 22)   Thursday, September 10,    Friday, November 6, 2026
                                                       2026

  Jury instructions, voir dire and special    Thursday, September 10,    Friday, November 6, 2026
            verdicts form (¶ 23)                       2026
        Pretrial Conference (¶ 22)            Thursday, September 17,      November 13, 2026
                                                       2026
                Trial (¶ 24)                  September/October ___,     November/December ___,
                                                       2026                      2026




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